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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 BMG RIGHTS MANAGEMENT                          )
 (US) LLC, and ROUND HILL                       )
 MUSIC LP                                       )
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      )       Case No. 1:14-cv-1611(LO/JFA)
                                                )
 COX COMMUNICATIONS, INC.,                      )
 COXCOM, LLC                                    )
          Defendants.                           )
                                                )

             REPLY IN SUPPORT OF PLAINTIFF’S MOTION IN LIMINE NO. 2
                 TO EXCLUDE IRRELEVANT INFORMATION ABOUT
             RIGHTSCORP’S ALLEGED SPOLIATION OF ITS SOURCE CODE

        Plaintiff BMG Rights Management (US) LLC (“BMG”) respectfully submits this Reply

 in Support of its Motion in Limine No. 2 to Exclude Introduction of Irrelevant Information about

 Rightscorp, Inc.’s (“Rightscorp”) Alleged Spoliation of its Source Code (Dkt. 949).

                                         INTRODUCTION

        Cox argues that its counsel’s clear statement that Rightscorp’s system remained the same

 between 2013 and 2015 was misinterpreted and that he really meant Rightscorp’s system was

 flawed, or alternatively that his statement was taken out of context. Neither interpretation holds

 up. While Cox would prefer that its prior lead counsel had not made this admission, read in

 context, it is clear. Cox’s counsel admitted that Rightscorp’s system remained the same over

 time. And because it was such a clear admission and so directly contradicted Cox’s litigation

 positions, that BMG counsel’s response evoked laughter. Cox’s attempt to re-interpret its

 counsel’s clear statement three years later is not credible.




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        Cox’s continued allegation of spoliation falls flat. Cox was provided with the evidence

 needed to evaluate whether Rightscorp’s system detects infringements and downloads evidence

 of those infringements from Cox’s subscribers. All of the evidence and testimony at the first

 trial established that between 2013 and 2015 that Rightscorp’s system detected infringements

 and downloaded evidence of those infringements in substantially the same way. Cox’s own

 expert witnesses admitted this, and it is consistent with the testimony of BMG’s technical expert

 witness and Rightscorp’s sole developer. Because the Rightscorp system has remained

 substantially the same, the alleged spoliation has no probative significance and any reference to

 it will only serve to confuse the jury and prejudice BMG.

                                           ARGUMENT

 I.     Cox Misrepresents Its Own Counsel’s Statement in a Blatant Attempt to Distract
        From the Clear Admission

        Cox’s counsel’s statement about Rightscorp’s system was clear. Cox’s counsel admitted

 that Rightscorp’s system remained the same during the relevant time period. Trial Tr. 510:7-8.

 Cox attempts to discount what its own counsel said by inserting additional words and arguing

 that it was taken out of context. Cox argues that what its counsel meant was that “the Rightscorp

 system has always worked in the same (flawed) way.” Opp’n (Dkt. 960) at 2. Even if that is

 what Cox’s counsel “meant” to say – and Cox is unable even to offer a declaration from the

 statement’s author to substantiate this claim – the result is the same. Cox’s counsel admitted that

 Rightscorp’s system worked the same way during the relevant period of time. There is no actual

 dispute over that, and it undermines the entire premise of Cox’s spoliation argument.

        Cox also argues that the laughter after this statement was due to the remark being taken

 out of context. Opp’n at 3. That is not correct. Of course, the remark was made outside the

 context of a discussion on spoliation. Otherwise, Cox’s counsel would likely have thought better


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 of such an admission. But the meaning of the admission is not affected by the fact that it was

 made during a discussion of a different issue, and Cox does not even attempt to contest the fact

 that the admission directly contradicts the essential premise of its spoliation claim. The laughter

 was due to this truth, which everyone at the sidebar recognized immediately. Neither Mr.

 Bridges nor his co-counsel attempted to correct the statement, much less offered the alternative

 reading that Cox suggests now. And Cox’s current pleading is not supported by a declaration.

 Mr. Bridges’ statement was clear, and it squarely contradicts Cox’s claim that the 2015 code is

 inadequate.

 II.    The Evidence Established That Rightscorp’s System Functioned Substantially the
        Same Way During the Relevant Time

        In addition to Cox counsel’s admission, Cox’s technical expert (Christopher Rucinski),

 BMG’s technical expert (Barbara Frederiksen-Cross), and Rightscorp’s sole developer of the

 system (Greg Boswell), all testified that the core portions of the Rightscorp code, which detected

 infringement and downloaded evidence of the infringement, operated substantially the same way

 in 2013 and 2015. See, Trial Tr. 1600:17-25 (Rucinski), 883:23-884:12 (Boswell), 357:24-358:3

 (Frederiksen-Cross). On the basis of this evidence of the Rightscorp system, the first jury had no

 trouble finding direct infringement.

        Cox attempts to sidestep this point by arguing that it had inadequate evidence to evaluate

 Rightscorp’s code. Opp’n at 4. But Cox was provided with historical and current versions of the

 module that detects infringement. Cox was also provided with historical and current versions of

 the module that downloaded samples of the songs to further evidence the infringement by Cox’s

 subscribers. There is no dispute that Cox had the ability to analyze whether Rightscorp’s system

 detected infringements and collected evidence of those infringements in both 2013 and 2015 –

 and concluded it did so in substantially the same way. Trial Tr. 1600:17-25 (Rucinski); Trial Tr.


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 at 510:7-8 (Bridges). Accordingly, Cox’s argument that it did not have enough evidence to

 analyze whether Rightscorp can detect infringements occurring on Cox’s network is without

 merit.

 III.     At a Minimum, BMG Should Be Able to Introduce the Admission by Cox’s Counsel

          If Cox is permitted to put on a spoliation case, Cox does not dispute that BMG should be

 permitted to introduce the admission by Cox’s counsel. The admission is relevant, probative, has

 adequate foundation, is not hearsay, and is not prejudicial. It should come into evidence if Cox’s

 spoliation case is allowed to go forward.

                                          CONCLUSION

          For the reasons set forth above and in BMG’s Memorandum in Support of its Motion in

 Limine No. 2 (Dkt. 950), Cox should be precluded from referencing any alleged spoliation by

 Rightscorp and the jury instruction regarding the alleged spoliation of Rightscorp’s code should

 not be submitted to the jury.


 Dated: July 31, 2018                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 31, 2018, I electronically filed a true and correct copy of the
 foregoing using the Court’s CM/ECF system, which then sent a notification of such filing (NEF)
 to all counsel of record:

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